                  Case 1:04-cr-05029-AWI Document 154 Filed 05/23/07 Page 1 of 3



      1   ANTHONY P. CAPOZZI, CSBN 068525
          LAW OFFICES OF ANTHONY P. CAPOZZI
      2   1233 W. Shaw Avenue, Suite 102
          Fresno, CA 93711
      3   Telephone: (559) 221-0200
          Fax: (559) 221-7997
      4   E-mail: capozzilaw@aol.com
      5   Attorney for Defendant,
          JOSE LUIS CABRERA-MENDOZA
      6

      7

      8                         IN THE UNITED STATES DISTRICT COURT
      9                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                               *****
     11
                                                        ) Case No.: CR-F-04-5029 OWW
     12   UNITED STATES OF AMERICA,                     )
                                                        ) STIPULATION FOR CONTINUANCE
     13                Plaintiff,                       ) AND ORDER THEREON
                                                        )
     14         vs.                                     )
                                                        )
     15   JOSE LUIS CABRERA-MENDOZA,                    )
                                                        )
     16                Defendant.                       )
     17

     18         IT IS HEREBY STIPULATED between the Defendant, Jose Luis Cabrera-Mendoza,
     19   by and through his attorney-of-record, Anthony P. Capozzi, and Plaintiff, by and through
     20   Assistant United States Attorney, Laurel J. Montoya, that the hearing now set for Monday,
     21   May 21, 2007, be continued to Monday, July 23, 2007, at 9:00 a.m.
     22         It is further stipulated by the parties that any delay resulting from this continuance
     23   shall be excluded on the following basis:
     24         (1)         Title 18, United States Code, Section 3161(h)(8)(A) -- that the ends of
     25                     justice served by taking such action outweighs the best interest of the
     26                     public and the defendant in a speedy trial;
     27

     28

                                                       -1–
                                                                                  Stipulation for Continuance
                                                                                               04-5029 OWW

PDF created with pdfFactory trial version www.pdffactory.com
                  Case 1:04-cr-05029-AWI Document 154 Filed 05/23/07 Page 2 of 3



      1         (2)        Title 18, United States Code, Section 3161(h)(8)(B)(ii): that is
      2                    unreasonable to expect adequate preparation for pre-trial proceedings or
      3                    for the trial itself with the time limits established due to the complexity of
      4                    the case.
      5                                            Respectfully submitted,
      6   Dated: May 16, 2007
      7                                                  /s/ Anthony P. Capozzi
      8
                                                   ANTHONY P. CAPOZZI,
                                                   Attorney for Defendant,
      9                                            Jose Luis Cabrera-Mendoza
     10

     11   Dated: May 16, 2007
                                                          /s/ Laurel J. Montoya
     12
                                                   LAUREL J. MONTOYA
     13
                                                   Assistant United States Attorney

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28

                                                      -2–
                                                                                    Stipulation for Continuance
                                                                                                 04-5029 OWW

PDF created with pdfFactory trial version www.pdffactory.com
                  Case 1:04-cr-05029-AWI Document 154 Filed 05/23/07 Page 3 of 3



      1                                           ORDER
      2

      3         IT IS SO ORDERED. Good cause having been shown, the hearing set for May 21,
      4   2007 is vacated and continued to Monday, July 23, 2007 at 9:00 a.m. Additionally, time
      5   shall be excluded by stipulation from the parties and pursuant to 18 USC §§ 3161(h)(8)(A)
      6   and 3161(h)(8)(B)(ii).
      7   Dated: May 17, 2007
      8

      9
                                                       /s/ Oliver W. Wanger
                                                 Honorable Oliver W. Wanger
     10                                          United States District Court Judge
     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28

                                                    -3–
                                                                                Stipulation for Continuance
                                                                                             04-5029 OWW

PDF created with pdfFactory trial version www.pdffactory.com
